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AO 440 (Rev. 06°12) Summons ina Civil Action (Page 23

Civil Action No. 3:20-cv-05221-BHS

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P.4.())

This summons for fname of individual and title, ifanyy | Novartis Pharmaceuticals Corporation

was received by me on date) 5/7/2020 os

“J | personally served the summons on the individual at (place)
On (date) ; or

 

 

“3 | left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on fdate! , and mailed a.copy to the individual’s last known address; or

"Rf served the summons on (name of individual) Johnnie Myers, Litigation Management Representativg.no is

. . ration
designated by law to. accept service of process on behalf of (name of orsenean oS Pharmaceuticals Corporatio

 

"] | returned the summons unexecuted because ; or

 

“T Other (specify:

My lees are $ 0.00 _ for traveLandS 0.00 for services, for a total of $ 0.00 :

! declare under penalty of perjury that this information is true.

Date: 5/12/2020 Za. ZL, obetin

Server's signature
tet Cordasco / Process Server

 

Printed nanie and title
Certified Process Service LLC
555 Grand Avenue # 77251
West Trenton, NJ 08628

 

‘Server's address

Additional information regarding attempted service, ete:

Documents Served: Summons In A Civil Action,
Complaint, Uniform Trial Practices & Procedures

Service Address:

Registered Agent, Corporation Service Company
Princeton South Corporate Center

100 Charles Ewing Blvd, Suite 160, Ewing, NJ 08628
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AQ 440 (Rev. 06.12) Sammons ina Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of Washington

. Bruce Becker

i Laintiffiss
v. Civil Action No. 3:20-cv-05221-BHS

Novartis Pharmaceuticals Corporation

Defendentts)
SUMMONS IN A CIVIL ACTION

To! (Defendant's name and address}
Novartis Pharmaceuticals Corporation
1 S Ridgedale Avenue c/o Corporation Service Company
East Hanover, New Jersey 07936

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency. or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (ay(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or 4 motion under Rule 12 of
the Kederal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Brad J. Moore

Stritmatter Kessler Koehler Moore
3600 15th Avenue W, Suite 300
Seattle, WA 98119

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT
Date: 03/11/2020 | or nm rn Uk

 
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AQ 440 (Rey. G62) Summons in aCivil Action

UNITED STATES DISTRICT COURT

for the

Western District of Washington

Bruce Becker

 

Plaintiffs).

v. Civil Action No. 3:20-cv-05221-BHS

Novartis Pharmaceuticals Corporation

 

Pet el pe Ne Na Se See Nee? ee ee eet

Defendantts}
SUMMONS IN A CIVIL ACTION

Tor (Defendant's name and address}
Novartis Pharmaceuticals Corporation
1.8 Ridgedale Avenue
East Hanover, New Jersey 07936

A lawsuit has been filed against you:

Within 21 days after service of this summons on you (not counting the day you received it} — or 60 days if you
are the United States ora United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to. the attached complaint or a: motion under'Rule.12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the:plaintiff or plaintiff's attorney,
whose name and address are:

Brad J. Moore

Stritmatter Kessler Koehler Moore
3600 15ih Avenue W, Suite 300
Seattle; WA 98119

if you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

   

CLERK OF COURT

Date: 03/11/2020 oe
